Case 1:21-cv-00385-JJM-PAS Document 5 Filed 09/23/21 Page 1 of 1 PageID #: 419




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND


 JOHNSON & WALES UNIVERSITY
           Plaintiff

               v.                                 C.A. No. 1:21-cv-00385-WES-PAS

 AMERICAN GUARANTEE & LIABILITY
 INSURANCE COMPANY
           Defendant

                    PLAINTIFF JOHNSON & WALES UNIVERSITY’S
                      CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1(a)(2), Plaintiff Johnson & Wales University states that it

has no parent corporation and that no publicly-held corporation owns 10% or more of its stock.

                                             JOHNSON & WALES UNIVERSITY

                                             By its Attorneys,

                                             /s/ Matthew H. Parker
                                             Joseph D. Whelan (5694)
                                             Matthew H. Parker (8111)
                                             WHELAN CORRENTE & FLANDERS LLP
                                             100 Westminster Street, Suite 710
                                             Providence, RI 02903
                                             Tel. (401) 270-4500
                                             Fax. (401-270-3760
                                             jwhelan@whelancorrente.com
                                             mparker@whelancorrente.com

Dated: September 23, 2021




WC63789
